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                 Case 9:22-cv-80915-RS DocumentCIVIL
 JS 44 (Rev. 10/20) FLSD Revised 02/12/2021     1-2 Entered
                                                     COVERon  FLSD Docket 06/22/2022 Page 1 of 2
                                                            SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
 I. (a)      PLAINTIFFS                                                                                         DEFENDANTS
                                     RACHEL MOCHAN                                                                                      MADISON REED, INC.

    (b)     County of Residence of First Listed Plaintiff     Palm Beach County                                 County of Residence of First Listed Defendant          San Fransisco, CA
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:                    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                         THE TRACT OF LAND INVOLVED.
    (c)    Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)

         Rachel Dapeer, 20900 NE 30th Ave, 417, Aventura, FL 33180 3056105223

 (d) Check County Where Action Arose:                MIAMI- DADE       MONROE         BROWARD         PALM BEACH      MARTIN     ST. LUCIE     INDIAN RIVER      OKEECHOBEE         HIGHLANDS


 II. BASIS OF JURISDICTION                         (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                            (For Diversity Cases Only)                                         and One Box for Defendant)
     1    U.S. Government               ■3                   Federal Question                                                        PTF        DEF                                            PTF DEF
            Plaintiff                           (U.S. Government Not a Party)                         Citizen of This State            1           1      Incorporated or Principal Place          4      4
                                                                                                                                                          of Business In This State

     2    U.S. Government                  4                    Diversity                             Citizen of Another State           2          2     Incorporated and Principal Place           5          5
            Defendant                           (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                      Citizen or Subject of a            3          3     Foreign Nation                             6          6
                                                                                                        Foreign Country
 IV. NATURE OF SUIT                   (Place an “X” in One Box Only)                              Click here for: Nature of Suit Code Descriptions
             CONTRACT                                         TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                            OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure               422 Appeal 28 USC 158                 375 False Claims Act
    120 Marine                          310 Airplane                     365 Personal Injury -             of Property 21 USC 881             423 Withdrawal                        376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                 Product Liability         690 Other                                  28 USC 157                         3729 (a))
    140 Negotiable Instrument               Liability                    367 Health Care/                                                                                           400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                 Pharmaceutical                                                    PROPERTY RIGHTS                      410 Antitrust
        & Enforcement of Judgment           Slander                          Personal Injury                                                  820 Copyrights                        430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’               Product Liability                                                830 Patent                            450 Commerce
    152 Recovery of Defaulted               Liability                    368 Asbestos Personal                                                835 Patent – Abbreviated              460 Deportation
                                                                                                                                                New Drug Application
                                                                              Injury Product Liability                                        840 Trademark                         470 Racketeer Influenced and
         Student Loans                  340 Marine                                                                                            880 Defend Trade Secrets              Corrupt Organizations
                                                                                                                                               Act of 2016
         (Excl. Veterans)               345 Marine Product                                                         LABOR                       SOCIAL SECURITY                      480 Consumer Credit
                                                                                                                                                                                      (15 USC 1681 or 1692)
    153 Recovery of Overpayment               Liability              PERSONAL PROPERTY                710 Fair Labor Standards                861 HIA (1395ff)                  ■   485 Telephone Consumer
                                                                                                                                                                                    Protection Act (TCPA)
        of Veteran’s Benefits            350 Motor Vehicle              370 Other Fraud                   Act                                 862 Black Lung (923)                  490 Cable/Sat TV
    160 Stockholders’ Suits              355 Motor Vehicle              371 Truth in Lending          720 Labor/Mgmt. Relations               863 DIWC/DIWW (405(g))                850 Securities/Commodities/
    190 Other Contract                       Product Liability          380 Other Personal            740 Railway Labor Act                   864 SSID Title XVI                    Exchange
    195 Contract Product Liability       360 Other Personal                 Property Damage           751 Family and Medical                  865 RSI (405(g))                      890 Other Statutory Actions
    196 Franchise                            Injury                     385 Property Damage               Leave Act                                                                 891 Agricultural Acts
                                         362 Personal Injury -              Product Liability         790 Other Labor Litigation                                                    893 Environmental Matters
                                             Med. Malpractice                                         791 Empl. Ret. Inc.                                                           895 Freedom of Information
       REAL PROPERTY                         CIVIL RIGHTS             PRISONER PETITIONS                  Security Act                        FEDERAL TAX SUITS                     Act
    210 Land Condemnation                440 Other Civil Rights         Habeas Corpus:                                                        870 Taxes (U.S. Plaintiff             896 Arbitration
    220 Foreclosure                      441 Voting                     463 Alien Detainee                                                         or Defendant)                    899 Administrative Procedure
    230 Rent Lease & Ejectment           442 Employment                 510 Motions to Vacate                                                 871 IRS—Third Party 26 USC             Act/Review or Appeal of
                                                                        Sentence                                                              7609                                  Agency Decision
    240 Torts to Land                    443 Housing/                      Other:                                                                                                   950 Constitutionality of State
                                         Accommodations                                                                                                                             Statutes
    245 Tort Product Liability           445 Amer. w/Disabilities -     530 General                        IMMIGRATION
    290 All Other Real Property              Employment                 535 Death Penalty             462 Naturalization Application
                                         446 Amer. w/Disabilities -     540 Mandamus & Other          465 Other Immigration
                                             Other                      550 Civil Rights                  Actions
                                         448 Education                  555 Prison Condition
                                                                        560 Civil Detainee –
                                                                        Conditions of
                                                                        Confinement
 V. ORIGIN                  (Place  an “X”  in One  Box Only)
 ■ 1 Original            2 Removed             3 Re-filed        4 Reinstated         5 Transferred from            6 Multidistrict            7 Appeal to                 8 Multidistrict
       Proceeding             from State          (See VI           or                   another district           Litigation
                                                                                                                                                 District Judge              Litigation      9 Remanded   from
                                                                                                                                                                                               Appellate Court
                              Court               below)            Reopened             (specify)                  Transfer
                                                                                                                                                 from Magistrate             – Direct
                                                                                                                                                 Judgment                    File
 VI. RELATED/                              (See instructions): a) Re-filed Case             YES         NO              b) Related Cases          YES         NO
 RE-FILED CASE(S)                                           JUDGE:                                                                               DOCKET NUMBER:
                                           Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
 VII. CAUSE OF ACTION 47 U.S.C. §§ 227, et seq.
                                           LENGTH OF TRIAL via                   days estimated (for both sides to try entire case)
 VIII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION
                                                                                                         DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER F.R.C.P. 23
                                                                                                                                                  JURY DEMAND:                        Yes         No
 ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
 DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
6/22/22                                                                            /s/Rachel Dapeer

 FOR OFFICE USE ONLY : RECEIPT #                             AMOUNT                             IFP                 JUDGE                                 MAG JUDGE
          Case 9:22-cv-80915-RS Document 1-2 Entered on FLSD Docket 06/22/2022 Page 2 of 2
JS 44 (Rev. 10/20) FLSD Revised 10/14/2020


                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                Authority For Civil Cover Sheet
  The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attorney filing a case should complete the form as follows:
I.      (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official,
giving both name and title.
        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
 II.    Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.     Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of
suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.
V.      Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
                           Brief Description: Unauthorized reception of cable service
VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.


Date and Attorney Signature. Date and sign the civil cover sheet.
